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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                                10-CR-188A

ERIC DE LEON, JR.,

                Defendant.
_____________________________________



                                 DECISION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. # 251.



                             PRELIMINARY STATEMENT

             The defendant, Eric De Leon, Jr. is charged in counts 4, 5 and 6 of a 13

count indictment against 23 defendants with conspiracy to possess with intent to

distribute, and to distribute, five kilograms or more of a mixture and substance

containing cocaine and a mixture and substance containing marijuana, in violation of

Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D), in

violation of Title 21 United States Code Section 846; and two counts of possession with

intent to distribute 500 grams or more of a mixture and substance containing cocaine, in

violation of Title 21, United States Code Sections 841(a)(1) and 841(b)(1)(B) and Title

18 United States Code Section 2. Dkt. #1. The defendant also faces forfeiture of
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money pursuant to Title 21, United States Code, Sections 853(a)(1), 853(a)(2), and

853(p). Dkt. #1.



              The defendant filed an omnibus motion. Dkt. #335. The government filed

a response and request for reciprocal discovery. Dkt. #445. Defendant’s motion for

suppression of evidence obtained pursuant to Title III intercept orders and a search of

16 Blum Avenue will be addressed in a separate Report, Recommendation and Order.



                             DISCUSSION AND ANALYSIS

Discovery & Inspection

              The government represents that it is in compliance with its obligations

pursuant to Rule 16 of the Federal Rules of Criminal Procedure and declares its

intention to disclose any additional information subject to Rule 16 as it is discovered.

Dkt. #445, pp.1-4. In accordance with Rule 12(b) of the Federal Rules of Criminal

Procedure, the government notifies the defendant of its intention to introduce any

evidence disclosed to defendant at trial. Dkt. #445, p.3. However, the government

notes that many of defendant’s requests are beyond the scope of pre-trial discovery.

Dkt. #445, pp.3-4.



Statements

              In reliance upon the government’s representation that it has disclosed

defendants’ statements to law enforcement personnel pursuant to Rule 16(a)(1)(A) of

the Federal Rules of Criminal Procedure, this aspect of defendant’s motion is denied as


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moot. Defendant’s request for statements or transcripts of grand jury testimony of

uncharged co-conspirators is beyond the scope of Rule 16.



F.R.E. 807

              In reliance upon the government’s representation that it has no present

intention of introducing any statement within the residual hearsay exception set forth in

Rule 807 of the Federal Rules of Evidence, and its acknowledgment of its obligations

should it determine the exception applicable, this aspect of defendant’s motion is

denied as moot.



Statements of Co-Conspirators

              Rule 16 does not encompass co-conspirator statements. United States v.

Percevault, 490 F.2d 126, 131 (2d Cir. 1974). The Jencks Act provides the exclusive

procedure for discovering statements that government witnesses – including co-

conspirators – have given to law enforcement agencies. In re United States, 834 F.2d

283, 286 (2d Cir. 1987). Rule 801(d)(2)(E) of the Federal Rules of Evidence does not

contain a required pretrial notice and therefore, there is no requirement on the part of

the government to disclose statements made by a defendant’s co-conspirator during

and in furtherance of the conspiracy. The admissibility of any such statements is best

addressed by the trial judge. United States v. Tellier, 83 F.3d 578, 580 (2d Cir.), cert.

denied, 519 U.S. 955 (1996). Accordingly, this aspect of defendant’s motion is denied.




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Fed. R. Crim. P. 16(a)(1)(F) & (G)

                 In reliance upon the government’s representation that it will disclose all

materials that are discoverable under Rule 16(a)(1)(F) of the Federal Rules of Criminal

Procedure and that it will comply with Rule 16(a)(1)(G) of the Federal Rules of Criminal

Procedure, as well as Rules 702, 703 and 705 of the Federal Rules of Evidence, and

that it will cooperate with defendant to provide the chemists’ credentials and methods in

the event that the defendant declines to stipulate as to the reports regarding the

controlled substances, as well as the qualifications of government law enforcement

experts relating to vague/coded drug references and firearms, this aspect of

defendant’s motion is denied as moot. The admissibility of any such testimony is best

addressed by the district court judge.



Identification

                 In reliance upon the government’s representation that it has and will

disclose information relating to pretrial identification procedures and has disclosed pole

camera video related to this investigation, defendant’s request for visual or audio

identification procedures is denied as moot. Issues of admissibility of testimony

identifying defendant’s voice, as provided by Rule 901 of the Federal Rules of

Evidence, are best left to the trial judge.



Law Enforcement Documents

                 Defendant’s request for all investigative reports or documents prepared by

the government related to the charges in this indictment is denied as beyond the scope

of the government’s discovery obligations. Rule 16(a)(2) of the Federal Rules of

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Criminal Procedure specifically exempts

              the discovery or inspection of reports, memoranda, or other
              internal government documents made by an attorney for the
              government or other government agent in connection with
              investigating or prosecuting the case. Nor does this rule
              authorize the discovery or inspection of statements made by
              prospective government witnesses except as provided in 18
              U.S.C. § 3500.


Summaries and Logs of Conversations

              In reliance upon the government’s representation that all information

regarding intercepted conversations, call detail, and summaries have been provided

and that any additional items will be provided voluntarily should they be discovered, this

aspect of defendant’s motion is denied as moot.



Documents or Tangible Objects

              In reliance upon the government’s representation that it has complied with

Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure, and that any additional

items will be provided voluntarily as they are identified, defendant’s motion for

disclosure of documents, video and audio tapes, photographs and other physical

evidence is denied as moot.



Transcripts of Intercepted Calls

              In reliance upon the government’s representation that it has provided call

summaries and complete transcripts containing Spanish/English translation, as well as

the underlying recorded conversations, and that it will continue to provide transcripts as


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they are completed, defendant’s request for verbatim transcripts of all conversations

relevant to the case is denied as moot.



Brady, Giglio & Jencks Material

              The government acknowledges its responsibility under Brady v. Maryland,

373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) and subsequent

cases. The government has also represented that it will comply with the requirements

of 18 U.S.C. § 3500 with respect to production of statements of witnesses called to

testify at trial. As a result of these representations, the defendant’s request for such

materials, i.e., Brady, Giglio and Jencks is denied, but the government is hereby

directed to comply with the Second Circuit Court of Appeals’ holding in United States v.

Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d

Cir. 2007) by making timely disclosure of those materials to the defendant.



F.R.E. 403, 404(b), 608 and 609

              The government notifies defendant that it intends to introduce at trial,

pursuant to Rule 404(b) of the Federal Rules of Evidence, all prior criminal conduct to

show proof of defendant’s motive, opportunity, intent, preparation, plan, knowledge,

identity, and absence of mistake or accident and represents that it will timely disclose

evidence within the ambit of Rules 404(b), 608(d) and 609 of the Federal Rules of

Evidence, but notes that it has no obligation to provide defendant with information that

could be used to impeach her pursuant to Rule 608, should he elect to testify. In

reliance upon the government’s representations, this aspect of defendant’s motion is

denied as moot.

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Grand Jury Transcripts

              It is a long-established rule that “[t]he burden. . . is on the defense to show

that ‘a particularized need’ exists for the minutes [of the grand jury] which outweighs the

policy of secrecy.” Pittsburgh Plate Glass Co v. United States, 360 U.S. 395, 400

(1959). As defendant’s request for release of grand jury transcripts is based upon his

general claim that such disclosure is necessary to prepare a defense given the lack of

information as to the basis for the charges against him, he has not demonstrated a

particularized need for such disclosure and this aspect of his motion is denied.



Identity of Informants

              Disclosure of the identity or address of a confidential informant is not

required unless the informant’s testimony is shown to be material to the defense.

United States v. Saa, 859 F.2d 1067, 1073 (2d Cir.), cert. denied, 489 U.S. 1089

(1988); see Roviaro v. United States, 353 U.S. 53, 59 (1957) (government generally is

not required to disclose identity of confidential informants). “Speculation that disclosure

of the informant’s identity will be of assistance is not sufficient to meet the defendant’s

burden; instead the district court must be satisfied, after balancing the competing

interests of the government and the defense, that the defendant’s need for disclosure

outweighs the government’s interest in shielding the informant’s identity.” United States

v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied, 522 U.S. 976 (1997). It is not

sufficient that the informant was a participant and witness to the crime. Saa, 859 F.2d

at 1073. As defendant has failed to demonstrate a material need for disclosure of the

identity of cooperating individuals, this aspect of his motion is denied.


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Severance

              Defendant argues that severance is required because, upon information

and belief, co-defendants made incriminating statements against him. Dkt. #335, p.27.

Defendant also argues that severance is required to avoid prejudice from intercepted

conversations. Dkt. #335, pp.25-26.



              The government denies that there are any written statements, admissions

or confessions of co-defendants which would implicate the confrontation clause. Dkt.

#445, p.48.



              Rule 8(b) of the Federal Rules of Criminal Procedure provides that an

indictment

              may charge 2 or more defendants if they are alleged to have
              participated in the same act or transaction, or in the same
              series of acts or transactions constituting an offense or
              offenses. The defendants may be charged in one or more
              counts together or separately. All defendants need not be
              charged in each count.

“The established rule is that a non-frivolous conspiracy charge is sufficient to support

joinder of defendants” pursuant to Rule 8(b) of the Federal Rules of Criminal

Procedure. United States v. Nerlinger, 862 F.2d 967, 973 (2d Cir. 1988). As each of

the thirteen defendants remaining in this matter are charged with conspiracy in Count 4

of the indictment, and the second amended criminal complaint which preceded this

indictment sets forth specific facts to support a single conspiracy, thereby

demonstrating the conspiracy charge to be non-frivolous, joinder was proper. United



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States v. Vanwort, 887 F.2d 375, 384 (2d Cir. 1989), cert. denied sub nom. Chapoteau

v. United States, 495 U.S. 906 (1990).



              [W]hen defendants properly have been joined under Rule
              8(b), a district court should grant a severance under Rule 14
              only if there is a serious risk that a joint trial would
              compromise a specific trial right of one of the defendants, or
              prevent the jury from making a reliable judgment about guilt
              or innocence.

Zafiro v. United States, 506 U.S. 534, 539 (1993). The defendant maintains a “heavy

burden” in establishing a right to a severance. United States v. Sotomayor, 592 F.2d

1219, 1227 (2d Cir.), cert. denied sub nom. Crespo v. United States, 442 U.S. 919

(1979). He must establish that he will suffer “substantial prejudice due to the joint trial,

amounting to a miscarriage of justice.” United States v. Nersesian, 824 F.2d 1294,

1303 (2d Cir. 1987), cert. denied, 484 U.S. 958 (1987).



              A defendant’s argument that he would have “a better chance at acquittal

at a separate trial does not constitute substantial prejudice.” United States v. Carson,

702 F.2d 351, 366 (2d Cir.), cert. denied sub nom Mont v. United States, 462 U.S. 1108

(1983). Similarly, the fact that one defendant’s role in a conspiracy may be smaller or

less central than that of certain other co-conspirators does not mandate a separate trial.

Nersesian at 1304; Carson, 702 F.2d at 366-67 (“differing levels of culpability and proof

are inevitable in any multi-defendant trial and, standing alone, are insufficient grounds

for separate trials.”). “Moreover, the fact that evidence may be admissible against one

defendant but not another does not necessarily require severance.” Carson, 702 F.2d


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at 367. Even in circumstances where a non-testifying defendant’s confession

specifically inculpates a co-defendant, the trial court can avoid the Confrontation Clause

issues such an identification would raise by adequate redaction. United States v. Jass,

569 F.3d 47 (2d Cir. 2009)(discussing Bruton v. United States, 391 U.S. 123 (1968),

and its progeny), cert. denied, __ U.S. __, 130 S.Ct. 2128 (2010).

              The ultimate question is whether, under all the
              circumstances of the particular case, as a practical matter, it
              is within the capacity of the jurors to follow the court’s
              admonitory instructions and accordingly to collate and
              appraise the independent evidence against each defendant
              solely upon that defendant’s own acts, statements and
              conduct. In sum, can the jury keep separate the evidence
              that is relevant to each defendant and render a fair and
              impartial verdict as to him? If so, though the task be difficult,
              severance should not be granted.

United States v. Kahaner, 203 F. Supp. 78, 81-83 (S.D.N.Y. 1962); aff’d, 317 F.2d 459

(2d Cir.), cert. denied, 375 U.S. 836 (1963).



              As the charges against this defendant and his co-defendants in the

indictment are such that with appropriate instructions from the trial judge, a jury will be

able to collate and appraise the independent evidence against the defendant solely on

his acts, statements and conduct and thereby render a fair and impartial verdict as to

him. Therefore, defendant’s request for a severance is denied without prejudice to

renewal before the trial judge prior to the final pretrial conference should circumstances

at that time warrant.




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Preservation of Rough Notes

               The government is hereby directed to maintain and preserve all materials

that are known by the government to exist and that constitute potential Jencks and Rule

16, Fed.R.Crim.P. material in this case. As the Court of Appeals for the Second Circuit

admonished:

               [W]e will look with an exceedingly jaundiced eye upon future
               efforts to justify non-production of a Rule 16 or Jencks Act
               “statement” by reference to “departmental policy” or
               “established practice” or anything of the like. There simply is
               no longer any excuse for official ignorance regarding the
               mandate of the law. Where, as here, destruction is
               deliberate, sanctions will normally follow, irrespective of the
               perpetrator’s motivation, unless the government can bear
               the heavy burden of demonstrating that no prejudice
               resulted to the defendant. . . . We emphatically second the
               district court’s observation that any resulting costs in the
               form of added shelf space will be more than
               counterbalanced both by gains in the fairness of trials and
               also by the shielding of sound prosecutions from
               unnecessary obstacles to a conviction.


United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976).



Bill of Particulars

               “Rule 7(f) of the Federal Rules of Criminal Procedure permits a defendant

to seek a bill of particulars in order to identify with sufficient particularity the nature of

the charge pending against him, thereby enabling defendant to prepare for trial, to


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prevent surprise, and to interpose a plea of double jeopardy should he be prosecuted a

second time for the same offense.” United States v. Bortnovsky, 820 F.2d 572, 574 (2d

Cir. 1987). Thus, a bill of particulars is required only where the charges of the

indictment are so general that they do not advise the defendant of the specific acts of

which he is accused. United States v. Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied,

543 U.S. 994 (2004); United States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999). “The

prosecution need not particularize all of its evidence.” United States v. Davidoff, 845

F.2d 1151, 1154 (2d Cir. 1988). “Moreover, ‘a bill of particulars is not necessary where

the government has made sufficient disclosures concerning its evidence and witnesses

by other means.’” Id., quoting Walsh, 194 F.3d at 47. “Generally, the particulars as to

the formation of a conspiracy need not be set forth by the prosecution,” as such details

“are not necessary to allow the defendant to prepare his defense or to plead double

jeopardy.” United States v. Iannelli, 53 F.R.D. 482, 483 (S.D.N.Y. 1971). “The decision

of whether or not to grant a bill of particulars rests within the sound discretion of the

district court.” Bortnovsky, 820 F.2d at 574; United States v. Panza, 750 F.2d 1141,

1148 (2d Cir. 1984). As the charges in the indictment, along with the discovery

materials provided by the government and the affidavit in support of the criminal

complaint clearly inform the defendant of the essential facts of the crimes charged, the

defendant is not entitled to, nor is he in need of, the particulars being sought for that

purpose. As a result, defendant’s motion is denied.




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Audibility Hearing

              The defendant’s motion for an audibility hearing is denied without

prejudice in light of the defendant’s failure to identify any portions of the intercepted

conversations that are inaudible. In the event that counsel for the defendant

determines that intercepted conversations of the defendant that the government

identifies as conversations it plans on using at trial are inaudible or that transcripts of

such conversations are inaccurate, counsel for the government and the defendant are

directed to confer for the purpose of resolving any disputes that may exist as to

audibility of the recordings in question and the correctness of the transcripts of such

recordings. Should the attorneys be unable to resolve any such disputes that may

exist, counsel for the defendant may file a motion for an audibility hearing no later than

ten days after the last conference between the attorneys seeking to resolve such

issues.



Joinder in Co-Defendants’ Motions

              It is hereby ordered that the decision made by this Court as to each co-

defendant’s requests contained in the motions in which this defendant has standing to

join shall also be deemed to be the finding and Order of this Court as to the defendant

herein.



Leave to Make Further Motions

              Defendant’s request for leave to make further motions is granted provided

that any additional bases for relief are based on facts or information learned by reason

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of the continuation of the investigation or facts and circumstances revealed in the

government’s response to the instant motion or this Court’s Decision and Order.



Government’s Request for Reciprocal Discovery

              Since the defendant has moved pursuant to Rule 16(a)(1) of the Federal

Rules of Criminal Procedure for similar materials and information, the government is

entitled to reciprocal discovery pursuant to Rule 16(b)(1), and its request is hereby

granted. The government’s motion with respect to Rule 807 of the Federal Rules of

Evidence is denied as moot by reason of the requirements contained within Rule 807 of

the FRE wherein it is specifically stated:

              However, a statement may not be admitted under this
              exception unless the proponent of it makes known to the
              adverse party sufficiently in advance of the trial or hearing to
              provide the adverse party with a fair opportunity to prepare
              to meet it, the proponent’s intention to offer the statement
              and the particulars of it, including the name and address of
              the declarant.


              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.


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              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:        Buffalo, New York
              June 15, 2012


                                            s/ H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge




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